,QYHVWRU$OHUW %LWFRLQ0RUHWKDQD%LW5LVN\ ),15$                   3DJH RI
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 ,QYHVWRUV!3URWHFW<RXUVHOI!,QYHVWRU$OHUWV!)UDXGVDQG6FDPV

 %LWFRLQ0RUHWKDQD%LW5LVN\
 %LWFRLQDQGRWKHUGLJLWDOFXUUHQFLHVKDYHJDUQHUHGFRQVLGHUDEOHDWWHQWLRQ0HGLDUHSRUWVKDYHIRFXVHGRQYLUWXDO
 FXUUHQF\ VSRWHQWLDOSURPLVHWREXVLQHVVHVDQGFRQVXPHUV²EXWDOVRRQYHU\UHDODEXVHVDQGFULPLQDODFWLYLW\
 DVVRFLDWHGZLWKLW*RYHUQPHQWKHDULQJVKDYHEHHQKHOGRQYLUWXDOFXUUHQFLHV,QWKH866HFXULWLHVDQG
 ([FKDQJH&RPPLVVLRQ 6(& FKDUJHGD7H[DVPDQDQGKLVFRPSDQ\ZLWKIUDXGLQYROYLQJDQDOOHJHG%LWFRLQ3RQ]L
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 7HFKQRORJLHV&RUS²ZKLFKKDGDQQRXQFHGWHVWLQJRIDQHZPRELOHSODWIRUPIRU%LWFRLQDIHZZHHNVHDUOLHU²EHFDXVH
 RITXHVWLRQVDERXWWKHFRPSDQ\ VEXVLQHVVUHYHQXHDQGDVVHWV$QGRQ)HEUXDU\WKH7RN\REDVHG0W
 *R[RQHRIWKHODUJHVWELWFRLQH[FKDQJHVVWRSSHGLWVRSHUDWLRQV,WVXEVHTXHQWO\ILOHGIRUEDQNUXSWF\LQ-DSDQRQ
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 6SHFXODWLYHWUDGLQJLQELWFRLQVFDUULHVVLJQLILFDQWULVN7KHUHLVDOVRWKHULVNRIIUDXGUHODWHGWRFRPSDQLHVFODLPLQJWR
 RIIHU%LWFRLQSD\PHQWSODWIRUPVDQGRWKHU%LWFRLQUHODWHGSURGXFWVDQGVHUYLFHV

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 QRWLVVXHGE\EDQNVRUJRYHUQPHQWV²LQGHHGWKH%LWFRLQSODWIRUPZDVGHVLJQHGWRRIIHUDQDOWHUQDWLYHWRQDWLRQDO
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 %LWFRLQZDVLQWURGXFHGLQDVRSHQVRXUFHVRIWZDUH7KLQNRILWDVDVRSKLVWLFDWHGFRPSXWHUSURJUDPWKDW
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 %LWFRLQVDUHFUHDWHGE\DSURFHVVFDOOHGPLQLQJ/LNHPLQLQJIRUJROGWKHSURFHVVLVODERULQWHQVLYH0LQLQJVHUYHV
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 WUDQVDFWLRQVDQGYHULI\OHJLWLPDWHELWFRLQWUDQVDFWLRQV)RUWKHLUHIIRUWV%LWFRLQPLQHUVJHWWUDQVDFWLRQIHHV,QDGGLWLRQ
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 %LWFRLQVFDQDOVREHERXJKWDQGVROGRQOLQHRUDWSK\VLFDOORFDWLRQV$JURZLQJQXPEHURISK\VLFDOHVWDEOLVKPHQWVDQG
 H[FKDQJHVDOORZFXVWRPHUVWREX\DQGVHOOELWFRLQVXVLQJFDVKFUHGLWFDUGVPRQH\RUGHUVDQGRWKHUPHWKRGV
 %LWFRLQVUHVLGHLQDGLJLWDOZDOOHWZKHUHWKH\FDQEHXVHGWRSXUFKDVHLWHPVIURPHVWDEOLVKPHQWVWKDWDFFHSWELWFRLQV

 %LWFRLQVFDQEHWUDGHGIRUWUDGLWLRQDOFXUUHQF\DWH[FKDQJHUDWHVWKDWIOXFWXDWH%LWFRLQSULFHVKDYHEHHQH[WUHPHO\
 YRODWLOHDQGVXEMHFWWRZLGHSULFHVZLQJV5HFHQW,56JXLGDQFHQRWHVWKDW%LWFRLQDVDYLUWXDOFXUUHQF\LVWUHDWHGDV
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     DIRUPRISD\PHQW,QVWHDG%LWFRLQXVHLVOLPLWHGWREXVLQHVVHVDQGLQGLYLGXDOVWKDWDUHZLOOLQJWRDFFHSWELWFRLQV,I
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     %LWFRLQWUDQVDFWLRQVFDQEHVXEMHFWWRIUDXGDQGWKHIW)RUH[DPSOHDIUDXGVWHUFRXOGSRVHDVD%LWFRLQH[FKDQJH
     %LWFRLQLQWHUPHGLDU\RUWUDGHULQDQHIIRUWWROXUH\RXWRVHQGPRQH\ZKLFKLVWKHQVWROHQ


     8QOLNH86EDQNVDQGFUHGLWXQLRQVWKDWSURYLGHFHUWDLQJXDUDQWHHVRIVDIHW\WRGHSRVLWRUVWKHUHDUHQRVXFK
     VDIHJXDUGVSURYLGHGWRGLJLWDOZDOOHWV


     %LWFRLQSD\PHQWVDUHLUUHYHUVLEOH2QFH\RXFRPSOHWHDWUDQVDFWLRQLWFDQQRWEHUHYHUVHG3XUFKDVHVFDQEH
     UHIXQGHGEXWWKDWGHSHQGVVROHO\RQWKHZLOOLQJQHVVRIWKHHVWDEOLVKPHQWWRGRVR


     ,QSDUWEHFDXVHRIWKHDQRQ\PLW\%LWFRLQRIIHUVLWKDVEHHQXVHGLQLOOHJDODFWLYLW\LQFOXGLQJGUXJGHDOLQJPRQH\
     ODXQGHULQJDQGRWKHUIRUPVRILOOHJDOFRPPHUFH$EXVHVFRXOGLPSDFWFRQVXPHUVDQGVSHFXODWRUVIRULQVWDQFH




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      ODZHQIRUFHPHQWDJHQFLHVFRXOGVKXWGRZQRUUHVWULFWWKHXVHRISODWIRUPVDQGH[FKDQJHVOLPLWLQJRUVKXWWLQJRII
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 %LWFRLQSULFHVKDYHIOXFWXDWHGZLGHO\DQGZLOGO\DOPRVWIURPWKHFXUUHQF\ VLQFHSWLRQIRUDKRVWRIUHDVRQV)RU
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 HYHQZKHUHELWFRLQVDUHWUDGHG VLQFHSULFHVDUHIDUIURPXQLIRUPIURPRQHELWFRLQH[FKDQJHWRWKHQH[W ,QVKRUW
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